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     PARKRIDGE LIMITED AND MABEL MAK
 8
                                   UNITED STATES DISTRICT COURT
 9
                                NORTHERN DISTRICT OF CALIFORNIA
10
     PARKRIDGE LIMITED, a Hong Kong                   Case No. 4:16-cv-07387-JSW
11   corporation, by Mabel Mak, and MABEL MAK,
     an individual,                                   DECLARATION OF COUNTER-
12                                                    DEFENDANT RANDY DOBSON IN
                            Plaintiffs,               SUPPORT OF THE MOTION TO
13                                                    DISMISS COUNTERCLAIMS
             v.
14                                                    Hon. Jeffrey S. White
     INDYZEN, INC., a California
15   corporation, and PRAVEEN NARRA                   Date:
     KUMAR, an individual,
16                                                    Time:
                            Defendants.               Dept.: Courtroom 5, 2nd Floor
17
                                                      Complaint Filed:   December 29, 2016
18

19
     INDYZEN, INC., a California corporation,
20
                            Counter-Plaintiffs,
21
             v.
22
     PARKRIDGE LIMITED, a Hong Kong
23   corporation and RANDY DOBSON, an
     individual,
24
                            Counter-Defendants.
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                                                                              Case No. 4:16-cv-07387-JSW
                          AFFIDAVIT OF COUNTER-DEFENDANT RANDY DOBSON
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 1      I, Randy Dobson, declare as follows:
 2   1. I am an adult over the age of eighteen.
 3   2. I am a Counter-Defendant in the above-captioned matter. I make this certification in
 4
        support of the Motion to Dismiss.
 5
     3. I have personal knowledge of the following facts and, if called upon as a witness, could
 6
        competently testify thereto, except as to those matters which are explicitly set forth as based
 7
        upon my information and belief and, as to such matters, I am informed and believe that
 8
        they are true and correct.
 9
     4. I have been living outside of the United States since June 2002.
10
     5. I am a permanent resident of Hong Kong, and my family resides with me there.
11
     6. I have no personal business dealings as an individual in State of California.
12

13   7. Any and all interactions I have had in or directed toward the State of California or any

14      residents of the same have been solely in an official capacity on behalf of a duly organized

15      and formed business entity, such as Parkridge Ltd.

16   8. I do not reside within the boundaries of the State of California, own no real property there,

17      and, with the exception of attending the May 2019 arbitration hearing in this matter, have

18      not been physically present in California in many years.
19      I declare under penalty of perjury that the foregoing is true and correct.
20

21
        Dated: June ____, 2020
22
                                                       _____________________________
23                                                     Randy Dobson

24

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26                  AFFIDAVIT OF COUNTER-DEFENDANT RANDY DOBSON
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